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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                    §
  In re:                                            §           Chapter 11
                                                    §
  NEWSCO INTERNATIONAL ENERGY                       §           Case No. 19-36767 (DRJ)
  SERVICES USA INC.,                                §
             Debtor.                                §

                         MOTION TO RETAIN AND COMPENSATE
                       SKOGEN COMETTO & ASSOCIATES, P.C. AS AN
                           ORDINARY COURSE PROFESSIONAL

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21
DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES
AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

To the Honorable David R. Jones,
United States Bankruptcy Judge:

        Newsco International Energy Services USA Inc., (the “Debtor” or “Newsco”) files this

Motion to Retain and Compensate Skogen Cometto & Associates, P.C. (“SCA”) as an Ordinary

Course Professional and in support thereof, shows as follows:

                                               SUMMARY

        1.       Debtor utilizes SCA to prepare its state and federal corporate tax returns. SCA

does not have an interest materially adverse to the Debtor or to the estate. Debtor seeks an order

authorizing the retention of SCA, effective as of the Petition Date, to prepare and file Debtor’s

2018, 2019 and any subsequent annual state and federal corporate tax returns, and authorizing

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payment to SCA in the ordinary course of business without the need for a separate retention

application and related order, and without the requirement that SCA file a fee application;

provided that SCA’s fees for preparation of each tax return does not exceed $5,000.

                                              JURISDICTION

        2.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (M). This Court has

the authority to enter the requested relief under 11 U.S.C. §§ 105(a), 327, 328, 330, and Rule

2014(a) of the Federal Rules of Bankruptcy Procedure.

                                              BACKGROUND

        3.       Debtor filed a voluntary petition for Chapter 11 bankruptcy relief on December 4,

2019 (the “Petition Date”) and is operating as a debtor-in-possession pursuant to §§ 1107(a) and

1108 of the Bankruptcy Code. No request for the appointment of a trustee or examiner has been

made in this bankruptcy case. A committee was appointed on January 8, 2020.

        4.       Founded in 2010, Newsco is an enhanced recovery solutions provider to many of

the industry’s leading upstream exploration and development operators and service companies.

        5.       Newsco has utilized the services of SCA to prepare its annual state and federal

corporate tax returns since 2010.

        6.       SCA maintains offices at 104 S. Wolcott Street, Suite 735, Casper, WY 82601.

SCA’s main telephone number is (307) 234-5395. SCA’s fax number is (307) 234-5399. Roxy L

Skogen and Michael J. Cometto are the directors at SCA. Additional information is available on

SCA’s website at https://www.cpawyoming.com/. SCA does not hold a pre-petition retainer.

        7.       SCA prepared and filed Debtor’s 2018 corporate tax return on January 7, 2020.

On January 31, 2020, Debtor received an invoice from SCA for the preparation and filing of the

2018 return in the amount of $4,295.00.
Motion to Retain, Employ and Compensate Skogen Cometto & Associates, P.C. as an Ordinary Course Professional
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        8.       Debtor seeks to retain SCA to prepare and file its year 2019 state and federal

corporate tax returns. The Debtor represents that SCA is the most efficient and cost-effective

choice to prepare Debtor’s corporate returns. SCA is already familiar with Debtor’s business

and affairs since its retention in 2010. SCA will not perform any other services relating to

Debtor’s bankruptcy case.

        9.       SCA does not have an interest materially adverse to the Debtor or to the

bankruptcy estate and Debtor submits that the continued employment and compensation of SCA

is in the best interests of Debtor and the bankruptcy estate.

        10.      Debtor believes that SCA, and specifically Ms. Skogen and Mr. Cometto, are not

“professionals” within the meaning of Section 327 of the Bankruptcy Code whose retention must

be approved by the Court. SCA will not be involved in the administration of this Chapter 11

case. See In re Henry S. Miller Commer., LLC, 2010 Bankr. LEXIS 3978 (Bankr. N.D. Tex.,

Nov. 8, 2010) (law firms were approved as ordinary course professionals and relieved of

satisfying the standards of Section 327 after the debtor demonstrated that the professionals would

not be involved in the administration of the Chapter 11 case and were subject to a fee cap).

        WHEREFORE, Debtor respectfully requests that the Court enter an order authorizing

Debtor to retain and compensate Skogen Cometto & Associates, P.C. in the ordinary course of its

business for the preparation and filing of the 2018 and 2019 state and federal corporate tax

returns without the necessity of filing a formal application for such compensation and

reimbursement with the Court, so long as the fees for each tax return do not exceed $5,000.

        Dated: April 16, 2020.




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                                                        Respectfully submitted,

                                                        By: /s/ Stephen A. Roberts
                                                        STEPHEN A. ROBERTS
                                                        sroberts@clarkhill.com
                                                        CLARK HILL STRASBURGER
                                                        720 Brazos, Suite 700
                                                        Austin, TX 78701
                                                        (512) 499-3624- Telephone

                                                        HERBERT J. GILLES
                                                        hgilles@clarkhill.com
                                                        CLARK HILL STRASBURGER
                                                        Texas Bar No. 07925350
                                                        901 Main Street, Suite 6000
                                                        Dallas, TX 75202
                                                        (214) 651-2167

                                                        ATTORNEYS FOR DEBTOR NEWSCO
                                                        INTERNATIONAL ENERGY SERVICES
                                                        USA INC.


                                     CERTIFICATE OF SERVICE

        I hereby certify that, pursuant to Bankr. R. 2014, this instrument was served via CM/ECF
and by email or United States first class mail, with proper postage affixed, as indicated, to the
parties set forth on the attached Service List on this 16th day of April 2020.


                                                             /s/ Stephen A. Roberts
                                                             Stephen A. Roberts




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                                               SERVICE LIST
                                                April 15, 2020


Debtor:                                                Counsel for Debtor:
Newsco International                                   Stephen A. Roberts
Energy Services USA Inc.                               Clark Hill Strasburger
12029 Brittmoore Park Drive                            720 Brazos, Suite 700
Houston, TX 77041                                      Austin, TX 78701
                                                       Sroberts@clarkhill.com

Herbert Gilles                                         U.S. Trustee:
Clark Hill Strasburger                                 Stephen Douglas Statham
901 Main Street, Suite 6000                            Office of US Trustee
Dallas, TX 75202                                       515 Rusk, Ste 3516
hgilles@clarkhill.com                                  Houston, TX 77002
                                                       stephen.statham@usdoj.gov

Internal Revenue Service                               United States Attorney, Civil Process Clerk
Centralized Insolvency Office                          1000 Louisiana Street #2300
PO Box 7346                                            Houston, TX 77002
Philadelphia, PA 19101-7346

United States Attorney General                         Texas Comptroller of Public Accounts
Department of Justice                                  Revenue Accounting Division – Bankruptcy
950 Pennsylvania Avenue, N.W.                          Section
Washington, D.C. 20530                                 PO Box 13528 Capitol Station
                                                       Austin, TX 78711

Texas Workforce Commission                             Wyoming Dept. of Workforce Services
TWC Building – Regulatory Integrity Division           5221 Yellowstone Rd.
101 East 15th Street                                   Cheyenne, WY 82002
Austin, TX 78778

Wyoming Secretary of State                             Top Twenty Unsecured Creditors:
Business Division                                      Abaco Drilling Technologies (Basin Tek)
Herschler Building East                                713 Northpark Central, Suite 400
122 W. 25th St., Ste 101                               Houston, TX 77073
Cheyenne, WY 82002-0020                                James.hanna@abacodrilling.com
                                                       (Committee Member)




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Gator Technologies                             Park City Drilling
415 Rankin Circle North                        800 North Park Central, Suite 100
Houston, TX 77073                              Houston, TX 77073
mleblanc@gatortechnologies.net                 bferguson@parkcitydt.com
(Committee Member)                             (Committee Member)

Phoenix Technology Services                    IAE International, Inc.
3610 Elkins Rd                                 13300 Stonefield Dr.
Midland, TX 79705                              Houston, TX 77014
bphillips@phxtech.com                          Dave.howe@iaeintl.com
(Committee Member)                             (Committee Member)

Hill Country Staffing Co.                      B&T Rentals
501 S. Austin Avenue, Suite 1310               PO Box 80962
Georgetown, TX 78626                           Lafayette, LA 70598-0962
Deanna.miller@hillcountrystaffing.com          tvallot@btrentals.com
rshannon@bn-lawyers.com

Moore’s Ind. Services Ltd.                     Sniper Drilling IAE International
3333 – 23 Street N.E.                          13300 Stonefield Dr.
Calgary, Alberta T2E 6V8                       Houston, TX 77014
bcheyne@mooresind.com                          roxanne@iaeintl.com

GE Oil & Gas Compression Systems               Tycoon Oilfield Services
191 Rosa Parks St., 11th Floor                 3468 Schlager Road
Cincinnati, OH 45202                           Casper, WY 82604
Roger.kramer@cooperservices.com                cvermeulen@tycoonoilfield.com

TURNTEC                                        NOV Tuboscope XL
4820 Cleveland Street                          Hardbanding and Fabrication
Mills, WY 82604                                PO Box 51563
banderson@turntecmfg.com                       Casper, WY 82605
                                               Anthony.parker@nov.com

NOV National Oilwell Varco                     Bico Drilling Tools
7909 Parkwood Circle Dr. Bldg #2               1604 Greens Road
Houston, TX 77036                              Houston, TX 77032
Anthony.parker@nov.com                         Jay.chatha@bicodrilling.com

Salt Creek Properties LLC                      Surface Engineering Alloy Co.
(Eastland Development LLC)                     2895 46th Ave North
PO Box 2390                                    St. Petersburg, FL 33714
Casper, WY 82601                               seanl@extremecoatings.net
mthompson@mcmurry.net




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Stabil Drill                                   JPI, LLC
PO Box 81548                                   4021 W 39th Street
Lafayette, LA 70598                            Casper, WY 82604
Monica.leblanc@stabildrill.com                 Palmer4021@icloud.com

Paradigm                                       Secured Lender:
5707 South 1788                                SouthStar Financial LLC
Midland, TX 79706                              c/o Lindsey W. Cooper Jr.
Phillip.garrison@paradigmdownholetools.com     The Law Offices of L.W. Cooper Jr.
                                               36 Broad Street
                                               Charleston, SC 29401
                                               lwc@lwcooper.com

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Stacy & Baker, P.C.                            1010 Lamar Street, Suite 550
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Cynthia.castanon@stacybakerlaw.com
For National Oilwell Varco, L.P

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Gordon Lusky, LLP                              c/o Ricoh USA Program f/d/b/a IKON
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                                          EXHIBIT 1




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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                        §
  In re:                                                §        Chapter 11
                                                        §
  NEWSCO INTERNATIONAL ENERGY                           §        Case No. 19-36767 (DRJ)
  SERVICES USA INC.,                                    §
             Debtor.                                    §

      ORDER GRANTING DEBTOR’S MOTION TO RETAIN AND COMPENSATE
                 SKOGEN COMETTO & ASSOCIATES, P.C.
                AS AN ORDINARY COURSE PROFESSIONAL

        The Court, having considered the Motion to Retain and Compensate Skogen Cometto &

Associates, P.C. as an Ordinary Course Professional (the “Motion”) filed by Debtor Newsco

International Energy Services USA Inc., (the “Debtor”), is of the opinion that the requested relief

is in the best interest of the estate and its creditors; that SCA represents no interest adverse to the

estate in the matters upon which they are to be engaged and that the Motion should be approved.

Accordingly, it is therefore

        ORDERED THAT:

        1.     Debtor is authorized to retain and compensate Skogen Cometto & Associates,
P.C. in the ordinary course of business pursuant to 11 U.S.C. §§ 105(a), 327, 328, 330, and Rule
2014(a) of the Federal Rules of Bankruptcy Procedure to prepare and file Debtor’s annual state
and federal corporate tax return.

       3.      Debtor is authorized to compensate SCA for the preparation and filing of Debtor’s
annual federal and state tax returns in an amount up to $5,000 for each tax return, without SCA
being required to file an application for compensation.


        SIGNED this _____ day of May 2020.


                                               __________________________________________
                                               THE HONORABLE DAVID R. JONES,
                                               UNITED STATES BANKRUPTCY JUDGE




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